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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:14CR324
                     Plaintiff,               )
                                              )
       vs.                                    )                   ORDER
                                              )
FAUSTINO SUASTEGUI-VILLALVA,                  )
                                              )
                     Defendant.               )
       This matter is before the court on the motion for an extension of time by defendant
Faustino Suastegui-Villalva (Suastegui-Villalva) (Filing No. 49). Suastegui-Villalva seeks
an additional thirty days in which to file pretrial motions in accordance with the progression
order. Suastegui-Villalva has filed an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Suastegui-Villalva’s counsel represents that government’s counsel
has no objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Suastegui-Villalva’s motion for an extension of time (Filing No. 49) is
granted. Suastegui-Villalva is given until on or before January 12, 2015, in which to file
pretrial motions pursuant to the progression order. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between December 12, 2014, and January 12, 2015, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the
reason the defendant’s counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).
       DATED this 12th day of December, 2014.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
